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AO 91 (Rev. 08/09) Cnnunal Complamt


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District of Florida

                United States of America                            )
                               V.                                   )
                       WILFRED FERTIL,                              )      Case No.   20-mj-8072-DLB
                                                                    )
                                                                    )
                                                                                                                      SP
                                                                    )
                           Defendant(s)
                                                                                                         Feb 15, 2020
                                                    CRIMINAL COMPLAINT
                                                                                                                         West Palm Beach

         I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of                February 15, 2020                in the county of            Palm Beac!l                 in the

     Southern           District of _ _____,F_,_lo
                                                 =n_,_,
                                                    ·d=-=a, __ _ , the defendant(s) violated:

            Code Section                                                      Offense Description
21 U.S.C. §§ 841 (a)(1 ), 841 (b)(1)           Attempted possession with the intent to distribute more than 500 grams of a
(B)(ii), 846 and 963, and 18 U.S.C.            controlled substance (cocaine).
§ 924 (c)(1 )(A)(i).
                                               Possession of a firearm in furtherance of a drug trafficking crime.




         This criminal complaint is based on these facts:
Please see attached affidavit.




         ~ Continued on the attached sheet.




                                                                                          A nderson Sullivan SA HSI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.



Date:


City and state:
                 02/15/2020


                                 West Palm Beach, Florida
                                                                                                  Judge's signature
                                                                                                                                      -
                                                                                                Printed name and title
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 I, Anderson Sullivan, being duly sworn do solemnly swear and
 depose that:
                                                   Introduction

    1. I, Anderson Sullivan, am a Special Agent assigned to the U.S. Homeland Security Investigations
       (HSI), Office of the Assistant Special Agent in Charge, West Palm Beach, Florida. I have been a
       HSI Special Agent since 2007. Prior to being a HSI Special Agent, I served as a Marine Interdiction
       Agent with United States Customs and Border Protection and as a Marine Enforcement Officer of
       the former United States Customs Service for approximately five years. In total, I have about 22
         years of federal law enforcement experience.

    2.   As an HSI Special Agent, my duties and responsibilities include conducting criminal investigations
         pertaining to Titles 18, 19, and 21, of the United States Code (U.S.C.) and the Code of Federal
         Regulations (CFR). After being hired as a Marine Enforcement Officer in 2002, I received training
         at the United States Customs Service Academy. In 2007, as a Special Agent, I received further
         training at the United States Immigration and Customs Enforcement Academy. At both of these
         academies I was trained in the legal principles and statutes representing criminal, civil, and
         administrative violations of the U.S.C. and the CFR as enumerated in Titles 18, 19, and 21. I have
         obtained experience from numerous investigations involving narcotics smuggling, as well
         violations of other United States customs laws.

    3. This affidavit is based upon my own knowledge as well as information provided to me by other
       law enforcement officers. This affidavit does not set forth every fact known to me regarding the
       investigation but only those facts necessary to establish probable cause to 1) arrest Reynaldo
       MILLER, YOB 1990, for knowingly and willfully possessing with the intent to distribute a
       controlled substance, to wit more than five kilograms of a mixtw·e known to contain cocaine, in
       violation of 21 U.S.C. §§841(a)(l), 841(b)(l)(A)(ii); and 2) arrest Wilfred FERTIL, YOB 1973,
       for knowingly and willfully attempting to possess with the intent to distribute a controlled
       substance, to wit more than 500 grams of a mixture known to contain cocaine, while in possession
       ofa firearm in violation of21 U.S.C. §§ 841(a)(l), 841(b)(l)(B)(ii), 846,963, and 18 U.S.C. § 924
         (c)(l)(A)(i).



                                     Facts in Support of Probable Cause

    4. On February 15, 2020, the MN Grand Master II, a cargo vessel, arrived at the Port of Palm Beach,
       located in Riviera Beach, Florida in the Southern District of Florida. Prior to arriving at the Port of
       Palm Beach, the M/V Grand Master II' s last port of call was Great Exuma Island, in the Bahamas.
       While the M/V Grand Master II was moored to the pier, HSI agents observed a dark blue Dodge
       Ram truck drive into the Port of Palm Beach and then onto the M/V Grand Master II. The driver,
       later determined to be Reynaldo MILLER, YOB 1990, met with several of the vessels crew
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         members and unloaded cargo from the bed of the pick-up truck onto the ship. Agents then observed
         items get loaded into the passenger compartment of MILLER'S Truck. MILLER then departed the
         vessel driving the same Dodge Ram truck, and headed toward the exit gate of the port.

    5.   While MILLER was at the port's exit security gate, HSI agents, using border search authority,
         selected MILLER and his vehicle for inspection. MILLER voluntarily exited his vehicle and an
         HSI Task Force K-9 Officer walked his narcotics detector dog around MILLER' S vehicle. The
         narcotics detector dog alerted to the presence of narcotics. While MILLER was out of his truck,
         he appeared very nervous and urinated in his clothing.




    6. The HSI agents then transported MILLER and his truck to the customs warehouse for further
       inspection. Pursuant to the inspection, agents discovered a large gray suitcase in the back seat of
       MILLER' S truck. Inside the suitcase, agents discovered several backpacks that contained
       approximately 32 kilogram sized bricks. The contents of several of the bricks field-tested positive
         for cocaine.

    7. Subsequent to the seizure of the controlled substances, HSI agents read MILLER the MIRANDA
       warnings. MILLER verbally acknowledged that he in fact understood his rights, he wrote his
       initials next to each right and signed the waiver portion of the MIRANDA form, and he agreed to
       be interviewed by the agents.

    8. MILLER stated to the agents that he delivered groceries and supplies to the M/V Grand Master II.
       When asked who put the cocaine into the gray suitcase, MILLER replied that crew members on the
       M/V Grand Master II put the cocaine into the gray suitcase. MILLER stated that he was supposed
       to take the cocaine to people that are going to contact him. MILLER said that he does not know
       the identities of the people that are going to contact him. During the interview, MILLER'S phone
       received numerous calls and messages from people for whom he is supposed to deliver the cocaine.
       MILLER does not know how much he is going to be paid, but does expect compensation. MILLER
       agreed to assist the agents in a controlled delivery of sham cocaine to an individual later identified
       as Wilfred FERTIL, YOB 1973.

    9. Prior to the controlled delivery, HSI agents directed MILLER to continue to communicate with
       FERTIL via messaging and phone calls. HSI agents directed MILLER to meet with FERTIL at a
       location in West Palm Beach, Florida, in the Southern District of Florida. FERTIL arrived at the
       parking lot in his Chevy Malibu and parked next to MILLER'S. As per the HSI agents' direction,
       MILLER delivered a bag of bricks of sham cocaine to FERTIL. This activity was observed by HSI
       and Palm Beach County Sheriff's Office (PBSO) agents. FERTIL was then taken into custody.
       Following his arrest, agents discovered a 9mm semi-automatic pistol in the center console of
       FERTIL' S Chevy Malibu.
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    10. Subsequent to his arrest, HSI agents read FERTlL the MIRANDA warnings, FERTIL verbally
        acknowledged that he in fact understood his rights, he wrote his initials next to each right and
        signed the waiver portion of the MIRANDA form, and he agreed to be interviewed by the agents.

    11. FERTIL stated that he was offered $500. 00 by an unidentified co-conspirator in Miami, Florida to
        drive from Miami to West Palm Beach to pick up two packages and then bring them back to the
        unidentified co-conspirator in Miami. FERTIL claims that he does not know what he was sent to
        pick up. During the interview, FERTIL stated several times that he was ready to accept the
        consequences of his actions.


                                                  Conclusion

    12. Based on the forgoing, your affiant believes that probable cause exists to arrest Reynaldo MILLER,
        YOB 1990, for knowingly and willfully possessing with the intent to distribute a controlled
        substance, to wit more than five kilograms of a mixture known to contain cocaine, in violation of
        21 U.S.C. §§ 841(a)(l), 841(b)(l)(A)(ii).

    13. Furthermore, your affiant submits that probable cause exists to arrest Wilfred FERTIL, YOB 1973,
        for knowingly and willfully attempting to possess with the intent to distribute a controlled
        substance, to wit more than 500 grams of a mixture known to contain cocaine, while in possession
        ofa firearm in violation of21 U.S.C. §§ 841(a)(l), 84l(b)(l )(B)(ii), 846 and 963, and 18 U.S.C. §
        924 (c)( l)(A)(i).




                                            pecial Agent And son B . SuJlivan
                                           Homeland Security Investigations



 SWORN TO AND SUBSCRIBED BEFORE
 ME THIS 15th DAY OF FEBRUARY 2020, AT
 WEST PALM BEACH, FLORIDA.



 DAVE L. BRANNON
 UNITED STATES MAGISTRATE JUDGE
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

 Defendant's Name: Wilfred Fertil

 Case No: _20-mj-8072-DLB
             _ _ __ _

 Count:   1

 21 U.S.C. § 841{a)(1), 841(b)(1)(A)(ii), 846, 963-Attempted possession with the intent to
 distribute more than 500 grams of a controlled substance (cocaine)

 * Penalty: Minimum term of 5 years to life in prison

 Count:   2

 18 U.S.C. § 924(c) - Possession of a firearm in furtherance of a drug trafficking crime

 * Penalty: Minimum term of 5 years to life in prison




 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or forfeitures that may be applicable.
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                Case No.    d..Q -   {)\j- 8 Ot ;)- 1)w3,
 UNITED STATES OF AMERICA

 vs.

 Wilfred Fertil,

             Defendant.
 --------------'
                               CRIMINAL COVER SHEET


 1.     1.     Did this matter originate from a matter pending in the United States
        Attorney's Office prior to August 9, 2013 (Mag. Judge Alicia Valle)?
               Yes       X    No

 2.     Did this matter originate from a matter pending in the Northern Region of the
        United States Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek
        Maynard)? _ _ Yes              X   No


                                          Respectfully submitted,




                                   BY:
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